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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    In Re:     William D. Jernigan,                      : Chapter    13
                                                         :
                             Debtor(s)                   : Case No.   20-12200-AMC

                                       * *    *   *   *    *   *

        NOTICE OF MOTION, RESPONSE DEADLINE AND HEARING DATE

          The movant, William D. Jernigan, has filed a Motion for Reimposition of the Stay
   As to Property of the Estate.

          Your rights may be affected. You should read these papers carefully and
   discuss them with your attorney, if you have one in this bankruptcy case. (If you do
   not have an attorney, you may wish to consult an attorney.)

          1. If you do not want the court to grant relief sought in the motion, or if you want
   the court to consider your views on the motion, then on or before 07/27/2022 you or your
   attorney must do all of the following:

             (a) file an answer explaining your position at

                    U.S. Bankruptcy Court, E.D. PA
                    900 Market Street, Suite 400
                    Philadelphia, PA 19107-4299

   If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early
   enough so that it will be received on or before the date stated above; and

             (b) mail a copy to the movant’s attorney:

                    Henry A. Jefferson, Esq.
                    Jefferson Law, LLC
                    1700 Market Street, Suite 1005
                    Philadelphia, PA 19103
                    Tel.: (215) 399-0911
                    Fax: (267) 399-3035

          2. If you or your attorney do not take the steps described in paragraphs 1(a) and
   1(b) above and attend the hearing, the court may enter an order granting the relief
   requested in the motion.

          3. A hearing on the motion is scheduled to be held before the Honorable
   Ashely M. Chan on 8/2/22, at 11:00 a.m., in Courtroom #4, 900 Market Street,
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   Philadelphia, PA 19107. Unless the Court orders otherwise, the hearing on this
   contested matter will be an evidentiary hearing at which witnesses may testify with
   respect to disputed material factual issues in the manner directed by Fed.R.Bankr.P.
   9014(d).

           4. If a copy of the motion is not enclosed, a copy of the motion will be provided
   to you if you request a copy from the attorney named in paragraph 1(b).

         5. You may contact the Bankruptcy Clerk’s office at 215-408-2800 to find out
   whether the hearing has been canceled because no one filed an answer.



   Date: July 13, 2022
